      Case: 1:18-cv-03823 Document #: 62 Filed: 07/01/19 Page 1 of 2 PageID #:351




                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  KELLY STANKIEWICZ, MD, FAAD

                Plaintiff,                              No. 1:18-cv-03823

         v.

   DU PAGE MEDICAL GROUP, LTD., d/b/a
   DUPAGE MEDICAL GROUP, an Illinois
   corporation,

                Defendant.

   NOTICE OF SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

To:     See Attached Certificate of Service

       PLEASE TAKE NOTICE that pursuant to the attached subpoena, the undersigned, as
attorneys for Plaintiff, Kelly Stankiewicz, will take the deposition testimony of the below listed
individual, under oath before a duly authorized notary public court reporter, at the offices of TAFT
STETTINIUS & HOLLISTER LLP, 111 E. Wacker Drive, Suite 2800, Chicago, Illinois 60601. The
testimony may be recorded by audio, audiovisual, or stenographic means.

          Deponent                            Date                             Time
      Soujanya R. Pulluru                 July 31, 2019                      10:00 a.m.

Dated: July 1, 2019                                  Respectfully submitted,

                                                     Kelly Stankiewicz, MD, FAAD


                                                     By: /s/ Brianna M. Skelly
                                                             One of her attorneys
William J. Serritella, Jr. (#6210001)
wserritella@taftlaw.com
Brianna M. Skelly (#6298677)
bskelly@taftlaw.com
Taft Stettinius & Hollister LLP
111 E. Wacker Dr., Suite 2800
Chicago, Illinois 60601
Telephone: (312) 527-4000
Facsimile: (312) 527-4011




24922629.1
      Case: 1:18-cv-03823 Document #: 62 Filed: 07/01/19 Page 2 of 2 PageID #:351




                                CERTIFICATE OF SERVICE

To:     Steven S. Scholes
        sscholes@mwe.com
        Peter B. Allport
        pallport@mwe.com
        Sean M. Koller
        skoller@mwe.com
        McDermott Will & Emery LLP
        444 West Lake Street, Suite 4000
        Chicago, IL 60606-0029

         I, Brianna M. Skelly, as counsel of record for Plaintiff, in accordance Fed.R.Civ.P. 5,
certify that a true and correct copy of the foregoing Notice of Subpoena to Testify at a Deposition
in a Civil Action was served upon the above counsel of record for Defendant, via email, on June
28, 2019.


                                                     __s/ Brianna M. Skelly
                                                     Brianna M. Skelly (#6298677)
                                                     bskelly@taftlaw.com




24922629.1
